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              IN THE UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF DELAWARE

In re:                               )
                                     )        Chapter 11
RS FIT NW LLC,                       )
                                     )        Case No. 20-11568 (TMH)
                     Debtor.         )
                                     )        (Jointly Administered)
                                     )
                                     )
24 HOUR FITNESS WORLDWIDE, INC.,     )
                                     )
                     Plaintiff,      )
                                     )
           v.                        )
                                     )
CONTINENTAL CASUALTY COMPANY;        )        Adv. Pro. No. 20-51051 (TMH)
ENDURANCE AMERICAN SPECIALTY         )
INSURANCE COMPANY; STARR SURPLUS     )
LINES INSURANCE COMPANY; ALLIANZ     )
GLOBAL RISKS US INSURANCE COMPANY; )
LIBERTY MUTUAL INSURANCE COMPANY; )
BEAZLEY-LLOYD'S SYNDICATES 2623/623; )
ALLIED WORLD NATIONAL ASSURANCE      )
COMPANY; QBE SPECIALTY INSURANCE     )
COMPANY; and GENERAL SECURITY        )
INDEMNITY COMPANY OF ARIZONA,        )
                                     )
                     Defendants.     )
                                     )


    PROPERTY INSURER DEFENDANTS' MOTION FOR SUMMARY JUDGMENT
              AND INCORPORATED MEMORANDUM OF LAW
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         Defendants Continental Casualty Company ("Continental"), Starr Surplus Lines Insurance

Company ("Starr"), Allianz Global Risks US Insurance Company ("Allianz"), Liberty Mutual

Insurance Company ("Liberty Mutual"), Certain Underwriters at Lloyd's ("Underwriters"), Allied

World National Assurance Company ("Allied World"), QBE Specialty Insurance Company

("QBE") and General Security Indemnity Company of Arizona ("GSINDA") (collectively, the

"Property Insurers") hereby move the Court to enter summary judgment in their favor, pursuant to

Rule 7056 of the Federal Rules of Bankruptcy Procedure and Rule 56 of the Federal Rules of Civil

Procedure, showing the Court as follows:

I.       STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDING 1

         This case arises from an insurance claim (the "Claim") submitted to the Property Insurers

by Plaintiff 24 Hour Fitness Worldwide, Inc. ("24 Hour") for alleged losses related to the COVID-

19 pandemic. 24 Hour submitted the Claim under commercial property insurance policies (the

"Property Policies") issued to 24 Hour for the policy period June 30, 2019 - June 30, 2020. (See

Exhs. A1-A7 at A.0001-0454) (The Property Policies).

         On March 21, 2020, 24 Hour provided notice of the Claim under the Property Policies for

economic losses it allegedly experienced as a result of the closure of its clubs. During the course

of the adjustment of 24 Hour's Claim, the Property Insurers requested information needed to

evaluate whether coverage existed under the Property Policies. 24 Hour did not fully respond to

the requests for information. Instead, on December 21, 2020, 24 Hour filed an adversary proceeding




1 This Adversary Proceeding is a non-core proceeding within the meaning of 28 U.S.C. § 157(b). (See Adv. DE 68).

The Property Insurers have not consented to this Court’s entry of final judgments in this Adversary Proceeding. (See
Adv. DE 37 ¶ 15, 40 ¶ 15, 43 ¶ 15, 49 ¶ 15, 53 ¶ 15, 56 ¶ 15). The Property Insurers have preserved their right to seek
withdrawal of the reference of this Adversary Proceeding. (See Adv. DE 231-1 ¶ 2). The Property Insurers, including
the Excess Insurers, do not, by filing this motion, consent to entry of final judgments by the Court in this Adversary
Proceeding or otherwise waive any rights with respect to withdrawal of the reference, all of which rights are reserved.


                                                          1
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in this Court 2 against the Property Insurers and their pollution coverage insurer. (See Adv. DE 1).3 In the

adversary proceeding, 24 Hour seeks a declaration that it is entitled to recovery under the Property

Policies for the economic losses it purportedly incurred as the result of the closure of its 445 fitness clubs

(the "facilities") (See Adv. DE 1).

II.        SUMMARY OF ARGUMENT

           In this Motion, the Property Insurers maintain that:

           1.       Coverage under the Property Policies' business interruption and other "time

element" provisions requires proof of "direct physical loss or damage" to property.

           2.       24 Hour has offered no evidence of direct physical loss of or damage to property

and is therefore not entitled to recover for purported business interruption or other time element

losses.

           3.       The Property Policies' Interruption by Communicable Disease Endorsement (the

"ICD Endorsement") provides coverage only for certain specified cleaning costs and the time

required to undertake the cleaning and is subject to certain required preconditions of coverage,

specifically that all loss must "directly result[] from access being prohibited to a described location

or any portion thereof" (a) due to the actual presence of and the spread of communicable diseases

at that described location; and (b) as a direct result of a declaration by a civil authority enforcing

any law or ordinance regulating communicable diseases.

           4.       24 Hour has not offered evidence sufficient to demonstrate that it has met these

prerequisites to coverage.



2
 On June 15, 2020, 24 Hour filed a petition for Chapter 11 bankruptcy in the United States Bankruptcy Court for the
District of Delaware.
3
    "Adv. DE" refers herein to a docket entry in the Adversary Proceeding.



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        5.      Even assuming 24 Hour had offered evidence to support coverage under the ICD

Endorsement, it has offered no evidence that any purported losses thereunder exceed the Property

Policies' $250,000 deductible for Interruption by Communicable Disease.

III.    STATEMENT OF FACTS

        Closure of the 24 Hour Facilities

        In March 2020, 24 Hour operated 445 fitness clubs (the "facilities") in fourteen states. (See

Adv. DE 1 at ¶ 15).

        On March 11, 2020, the World Health Organization declared COVID-19 to be a "global

outbreak." (See Exh. A-8 at A.0462) (Declaration of Dr. Allison Stock ("Dr. Stock Dec.") at Exh.

A, p.4, ¶ 11). Starting on March 15, 2020, certain state governors across the U.S. began to issue

"safer at home" orders to limit the spread of COVID-19. (See Exh. A-8 at A.0462) (Dr. Stock Dec.

at Exh. A, p. 4, ¶ 11).

        On March 16, 2020, 24 Hour issued a corporate-wide order to close all of its facilities

effective at midnight. (See Adv. DE 1 at ¶ 40). The 24 Hour facilities remained closed until 24

Hour was permitted to re-open the facilities by government authorities. (See Adv. DE 1 at ¶ 40).

Following their re-openings, a small number of 24 Hour facilities were temporarily re-closed due

to orders of local governments requiring the closure of non-essential businesses due to further

outbreaks of COVID-19. (See Adv. DE 1 at ¶ 34). The few facilities that were forced to re-close

temporarily due to local governmental orders were again re-opened when the orders were lifted

unless otherwise unable to re-open (See Exh. A-9 at A.0491) (Rule 30(b)(6) Deposition of Dan

Larson ("Larson Rule 30(b)(6) Dep.") at 92:4-23).

        COVID-19 – The Virus and its Spread

        COVID-19 is a contagious disease that is caused by the virus known as severe acute

respiratory syndrome coronavirus 2 (SARS-CoV-2). (See Exh. A-8 at A.0462) (Dr. Stock Dec. at


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Exh. A, p. 4, ¶ 11). For ease of reference, the disease will be referred to herein as "COVID-19"

and the virus as "COVID virus."

         According to the CDC, "SARS-CoV-2, the virus that causes COVID-19, is an enveloped virus,

meaning that its genetic material is packed inside an outer layer (envelope) of proteins and lipids." (See

Exh. A-8 at A.0466) (Dr. Stock Dec. at Exh. A, p. 8, ¶ 22). "The envelope contains structures (spike

proteins) for attaching to human cells during infection." (See Exh. A-8 at A.0466) (Dr. Stock Dec. at

Exh. A, p. 8, ¶ 22). In contrast to other diseases that have community-based transmission such as

tuberculosis and norovirus, the envelope for SARS-CoV-2, as with other enveloped respiratory viruses,

is labile or easily broken down, and can degrade quickly upon contact with surfactants contained in

cleaning agents and EPA disinfectants. (See Exh. A-8 at A.0466)(Dr. Stock Dec. at Exh. A, p. 8, ¶

22); (see also Exh. A-10 at A.0528) (Declaration of Dr. Alexis Sauer-Budge ("Dr. Sauer-Budge

Dec.") at Exh. A, p.26, ¶ 4.22). 24 Hour used such disinfectants when conducting regular cleaning

of its properties as of March 2020. (See Exh. A-11 at A.0597-0598) (March 12, 2020 Email); (see

also Exh. A-12 at A.0600-0601) (May 5, 2020 Email from Matt Piro). Appropriately disinfected

surfaces do not transmit the COVID virus. (See Exh. A-10 at A.0541-0542) (Dr. Sauer-Budge Dec.

at Exh. A, pp. 39-40, ¶ 4.43). The COVID virus does not physically alter the air or surfaces with

which it comes into contact. (See Exh. A-10 at A. 0541-0542) (Dr. Sauer-Budge Dec. at Exh. A,

pp. 39-40, ¶ 4.36).

         The Property Policies 4

         The Property Policies cover only "Perils Insured Against," which is defined to mean "[a]ll

risk of direct physical loss or damage to property described herein including general average,


4
 For ease of reference, all specific policy citations herein will be to the Continental Policy (See Exh. A-4 at A.0187-
0236) (Continental Policy), of which the terms cited to herein, are identical to all other property policies issued by the
Property Insurers (See Exh. A-1 at A.0001-0065) (Allianz Policy); (See Exh. A-2 at A.0066-0118) (Allied World
Policy); (See Exh. A-3 at A.0119-0186) (Underwriters Policy); (See Exh. A-5 at A.237-320) (GSINDA & QBE


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salvage and all other charges on shipments covered hereunder, except as hereinafter excluded."

(See Exh. A-4 at A.0212) (Continental Policy, p. 18 at "9. PERILS INSURED AGAINST").

        Where these requirements of the insuring agreement are met, the Property Policies provide

Business Interruption coverage for "[l]oss resulting from necessary interruption of business

conducted by the Insured, whether total or partial, and caused by loss, damage, or destruction

covered herein during the term of this policy to real and personal property as described in Clause

7.A," i.e., when there is caused by a "Peril Insured Against." (See Exh. A-4 at A.0203) (Continental

Policy, p. 9 at 7.B.(1). Business Interruption). The Property Policies also include certain "Time

Element Extensions," which extend Time Element coverages, including Business Interruption in

limited circumstances when there is physical loss or damage to property of third parties, including:

        (2) Interruption by Civil or Military Authority: This policy is extended to cover the
            loss sustained during the period of time when access to real or personal property
            is prohibited by order or action of civil or military authority issued in connection
            with or following a peril insured against within five (5) statute miles of the
            insured premises and for a period not to exceed thirty (30) days.

        (3) Ingress/Egress: This policy is extended to cover the loss sustained during the
            period of time when, in connection with or following a peril insured against,
            access to or egress from real or personal property is prevented within five (5)
            statute miles of the insured premises and for a period not to exceed thirty (30)
            days.

(See Exh. A-4 at A.0205) (Continental Policy, p. 11 at 7.F.(2)-(3). Time Element Extensions). In

addition, the Property Policies reinforce that physical loss or damage is required for there to be

Time Element coverage, stating, in pertinent part, that the Period of Recovery for Time Element

coverages, including Business Interruption, is measured as:

        1) Period of Recovery: The length of time for which loss may be claimed:

        (a) shall not exceed such length of time as would be required:
             (i.) with the exercise of due diligence and dispatch to rebuild, repair, or replace
                  such part of the property as has been destroyed or damaged;

Policy); (See Exh. A-6 at A.321-385) (Liberty Mutual Policy); and (See Exh. A-7 at A.0386-454) (Starr Policy).


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           (ii.)to restore the interrupted services to the premises and the premises made
                ready for normal operations when such interruption is caused by an
                accidental occurrence;

                                           ***

(See Exh. A-4 at A.0206) (Continental Policy, p.12 at G.(1). Period of Recovery).

       The Property Policies also expressly extend limited coverage for communicable diseases

in Endorsement 2, which states:

       Interruption by Communicable Disease:

       This policy is extended to cover the reasonable and necessary expenses incurred by
       the Insured to:

           a) Clean up, remove, and dispose of communicable diseases from insured
              property at a described location; and
           b) Restore the premises;

       In a manner to satisfy the minimum requirements of any law or ordinance regulating
       communicable diseases. This policy is also extended to cover business interruption
       (if provided) loss directly resulting from items a) and b) above.

       All coverage above must be directly resulting from access being prohibited to a
       described location or any portion thereof:
           a) Due to the actual presence of and the spread of communicable diseases at
              that described location; and
           b) As a direct result of a declaration by a civil authority enforcing any law or
              ordinance regulating communicable diseases.

       For the purpose of this extension, the presence of and the spread of communicable
       diseases will be considered direct physical damage and the expenses listed in items
       a) and b) above will be considered expenses to repair such damage. There will be
       no coverage to comply with any law or ordinance with which the Insured was
       required to comply had the direct physical damage not occurred.

       Communicable disease means a disease that:
         A. May be transmitted directly or indirectly by one person or other life form to
            another and;
         B. Is due to:
            1. An infectious agent; or
            2. A toxic product produced by such infectious agent.

(See Exh. A-4 at A.0227) (Continental Policy, p. 33 at Endorsement 2).




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       The Evidentiary Record

       To support its position that it is entitled to coverage, 24 Hour has made the conclusory

allegations that the presence of individuals who contracted or suffered from COVID-19, coupled

with prevalence of the disease in the community, caused physical loss of or damage to 24 Hour's

business location and, as a result, its operations were suspended. (See Adv. DE at ¶¶ 41-42).

Similarly, it has alleged that the presence and spread of COVID-19 throughout the community,

including at 24 Hour Fitness, led to the closure orders prohibiting access to its facilities. (See Adv.

DE at ¶ 61). For Civil or Military Authority and Ingress/Egress coverage, 24 Hour has erroneously

contended that physical loss or damage is not necessary and it is entitled to coverage because of

"[t]he failures to contain the spread of COVID-19 in each of the locations where 24 Hour Fitness

conducted operations." (See Adv. DE at ¶¶ 55, 58). Yet, after an extensive discovery process, 24

Hour has offered no evidence to support these allegations.

       Specifically, 24 Hour has offered no evidence of a confirmed case of COVID-19 at any 24

Hour facility prior to their closing on March 16, 2020. On March 13, 2020, three days before their

nationwide closure, Dan Larson, 24 Hour's environmental health and safety manager, wrote an e-

mail to Jeremy Gottlieb, 24 Hour's Vice President, audit and compliance, entitled "COVID-19

(Unconfirmed allegation)" stating "So far the handful of alleged COVID-19 cases that were

reported by members to the clubs have not been substantiated." (See Exh. A-13 at A.0603) (March

13, 2020 Email from Dan Larson). According to an internal March 24, 2020 summary of incident

reports prepared by 24 Hour for all of the facilities, there were a total of 27 incident reports merely

referencing COVID-19 as of this date. (See Exh. A-14 at A.0607) (Deposition of Jeremy Gottlieb

("Gottlieb Dep.") at 29:6-29:15); (see also Exh. A-15 at A.0611) (24 Hour Claim Report).

       24 Hour has no evidence of positive COVID-19 tests for any employee, guest or other

visitor while on the premises of any 24 Hour facility prior to or throughout the closure period.


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Moreover, 24 Hour has no evidence of any employee or member with a confirmed COVID-19

infection being present at any 24 Hour location. Nor did 24 Hour conduct any "contact tracing" in

response to the few reports they received of possible or suspected exposure of employees or guests

to COVID-19. Dr. Mercedes Carnethon testified on behalf of 24 Hour that she has not done any

work related to the presence of COVID-19 virus in any location. (See Exh. A-16 at A.0614-0615)

(Deposition of Dr. Mercedes Carnethon ("Dr. Carnethon Dep.") at 11:20-12:1). Indeed, Dr.

Carnethon relies on little more than the aforementioned unsubstantiated "incidents" reported by 24

Hour and in support of her opinion that it was "reasonable" for 24 Hour to "assume" that COVID-

19 virus was present in their facilities. (See Exh. A-16 at A.0619-0620) (Dr. Carnethon Dep. at

62:24-63:6) (see also Exh. A-17 at A.0616) (Dr. Carnethon Report at pp. 17-19). When pressed

on whether she has any opinion regarding whether or not COVID-19 was present at any 24 Hour

location, Dr. Carnethon testified "No, I do not have an opinion." (See Exh. A-16 at A.617; A.619-

620) (Dr. Carnethon Dep. at 24:9-13; 63:7-12;). Dr. Carnethon also had no opinion as to whether

COVID-19 was spreading at any 24 Hour location. (See Exh. A-16 at A.0617; A.0620) (Dr.

Carnethon Dep. at 24:14-19; 63:13-18).

       No governmental authority confirmed the presence of the COVID virus at any 24 Hour

facility or issued any orders directly to 24 Hour regarding the operation of its facilities as a result

of the COVID outbreak. (See Exh. A-18 at A.0718; A.0721) (Deposition of Matthew Piro ("Piro

Dep.") at 60:15-20; 92:4-21).

       24 Hour has offered no evidence of any direct physical loss of or damage to property at

any of the facilities and, in fact, its witnesses have conceded that the COVID-19 virus did not cause

any physical damage to any of its property. (See Exh. A-18 at A.0722-0723) (Piro Dep. at 142:23-

143:21) (see also Exh. A-19 at A.0730) (Depostion of Dan Larson ("Larson Dep.") at 94:3-19).




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Nor has 24 Hour offered expert testimony to rebut that of Dr. Alexis-Sauer Budge, an expert in

the interaction between biology (e.g., viruses) and materials, that the COVID virus does not

damage the air or surfaces with which it comes into contact. (See Exh. A-10 at A.0541-0542) (Dr.

Sauer-Budge Dec. at Exh. A, pp. 39-40, ¶ 4.36). Indeed, Dr. Carnethon testified on behalf of 24

Hour that she was not asked by 24 Hour to opine on whether COVID-19 caused any physical loss

of or damage to property at any 24 Hour location. (See Exh. A-16 at A.0618) (Carnethon Dep. at

33:11-16).

       24 Hour also has offered no evidence that it incurred any cost to "clean up, remove, and

dispose of" COVID-19 from any of its locations. Indeed, on March 16, 2020, the date of 24 Hour's

nationwide closure, Matthew Piro, 24 Hour's national director of club operations, wrote to

representatives of KBS, 24 Hour's corporate janitorial service at the time, and stated as follows:

         KBS Team:
         Please be advised that due to all of the gym closures required by the government
         related to the COVID-19 virus outbreak, all of our clubs will close at midnight
         tonight until further notice. We may solicit help from you with some cleaning
         during the closure, but all regular cleaning will end effective tonight at midnight
         until we are allowed to re-open—and we will reach out to you about any specific
         cleaning requests.

(See Exh. A-9 at A.0489-0490) (Larson Rule 30(b)(6) Dep. at 76:25-77:7); (see also Exh. A-20 at

A.0733) (March 16, 2020 Email from Matt Piro).

       24 Hour has offered no evidence of any kind to demonstrate that it undertook any cleaning

at any facility to dispose of and/or remove virus from its premises from the time that it closed its

facilities on March 16, 2020 until it reopened its facilities beginning in May of 2020. A checklist

prepared by 24 Hour to provide guidance for the re-opening of facilities closed on March 16, 2020

does not include any indication that efforts were to be made to clean or remove virus from the

premises. (See Exh. A-19 at A.0727-0728; 0729) (Larson Dep. at 73:7-74:2; 75:11-24); (see also

Exh. A-25 at A.0793-0797) (April 9, 2020 Email from Adam VanderYacht). 24 Hour undertook


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no effort to clean or remove virus from its facilities after the national closure on March 16, 2020.

(See Exh. A-21 at A.0736) (Deposition of Jason Carter ("Carter Dep.") at 50:5-10).

       24 Hour has not produced evidence indicating that any cleaning costs or economic losses

during the period necessary to clean or remove the COVID virus from its locations, if any,

exceeded $250,000 at any one location during the closure period. (See Exh. A-4 at A.200)

(Continental Policy, p. 6 at 4. PRIMARY DEDUCTIBLES).

IV.    ARGUMENT

       A.      Standard of Review

       A court "shall grant summary judgment if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P.

56(a). "Summary judgment for a defendant is appropriate when the plaintiff 'fails to make a

sufficient showing to establish the existence of an element essential to her case, and on which she

will bear the burden at trial.'" Cleveland v. Policy Mgmt. Sys. Corp., 526 U.S. 795, 805-06 (1999)

(alterations omitted) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)). "If the non-

movant in a summary judgment action fails to adduce evidence which would be sufficient, when

viewed in a light most favorable to the non-movant, to support a jury finding for the non-movant,

summary judgment may be granted." Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d

1364, 1370 (11th Cir. 1997) (citation omitted).

       If the evidence offered by the nonmoving party is merely colorable or is not significantly

probative, summary judgment is proper. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–

50 (1986). "[T]he mere existence of some alleged factual dispute between the parties will not

defeat an otherwise properly supported motion for summary judgment; the requirement is that

there be no genuine issue of material fact." Id. at 247–48 (emphasis original). A dispute about a

material fact is "genuine" if "the evidence is such that a reasonable jury could return a verdict for


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the nonmoving party." Id. at 248. The applicable substantive law will determine which facts are

"material," and "[o]nly disputes over facts that might affect the outcome of the suit under the

governing law will properly preclude the entry of summary judgment." Id.

       B.      Applicable Law

       The Property Insurers assert that California law applies here. The choice-of-law rule of the

forum state dictates the substantive law that applies. In re Mariner Health Grp., 2003 WL

22299672 (Bankr. D. Del. Sept. 24, 2003). Delaware's choice-of-law rule is the Restatement's

"most significant relationship test." Id. Under that test, the law of the state where the parties

understood the insured risk to be principally located will generally apply. See id. The Property

Insurers submit that here, the state where the parties understood the insured risk to be principally

located in California. 24 Hour's principal place of business is in California, and the Property

Policies were delivered to 24 Hour in California. (See Exh. A-4 at A.0188) (Continental Policy,

"NAMED INSURED AND ADDRESS"). That said, where instructive, the Property Insurers will

reference additional case law from other jurisdictions, the overwhelming weight of which—in

California and elsewhere—supports the Property Insurers' positions.

       C.      24 Hour Offers No Evidence of "Physical Loss or Damage" Required for
               Business Interruption and Other Time Element Coverage

       The Property Policies' "Perils Insured Against" provision states that the Property Policies

insure only against "direct physical loss or damage to property." (Exh. A-4 at A.0212) (Continental

Policy, p. 18 at "9. PERILS INSURED AGAINST").

       Each of the Time Element provisions under which 24 Hour seeks recovery also are

premised upon the "direct physical loss or damage to property" requirement set forth in the

Property Policies' "Perils Insured Against" provision, with the exception of the specific ICD

Endorsement, which is addressed below. Specifically, the Property Policies' business interruption



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provision limits recovery to "[l]oss resulting from necessary interruption of business conducted by

the Insured, whether total or partial, and caused by loss, damage, or destruction covered herein

during the term of this policy to real and personal property as described in Clause 7.A.". (See Exh.

A-4 at A.0203) (Continental Policy, p. 9 at 7.B.(1). Business Interruption). (emphasis added). The

Interruption by Civil Authority provision likewise provides coverage only upon proof of "a peril

insured against within five (5) statute miles of the insured premises." (See Exh. A-4 at A.0205)

(Continental Policy, p. 11 at 7.F.(2). Time Element Extensions). emphasis added). Similarly,

Ingress/Egress coverage requires proof that access was prevented within five miles of an insured

location due to a "peril insured against." Again, the Property Policies provide that a "peril insured

against" is the "risk of direct physical loss or damage" to insured property. (See Exh. A-4 at

A.0205) (Continental Policy, p. 11 at 7.F.(3). Time Element Extensions).

        1. "Direct Physical Loss or Damage" Requires Physical Harm or Alteration to Property

        24 Hour has offered no evidence that it experienced any physical loss or damage to its property.

(See Exh. A-18 at A.0722-0723. (Piro Dep. at 142:23-143:21); (see also Exh. A-19 at A.0730)

(Larson Dep. 94:3-19). Likewise, it has offered no evidence of physical loss or damage to property

of others. Rather, 24 Hour seeks recovery of purely economic losses under the Property Policies'

Business Interruption and other Time Element coverages, which 24 Hour alleges was caused by the

Orders issued by various governmental entities during the pandemic. As confirmed by federal and state

courts applying California law in COVID-19 coverage actions, the Property Policies, however, do not

provide coverage for economic losses arising from loss of use, as 24 Hour contends. Body Xchange

Sports Club, LLC v. Zurich Am. Ins. Co., 648 F.Supp.3d 1205, 1214 (E.D. Cal. 2022) (collecting cases)

("'direct physical loss of or damage to' requires a physical alteration to the property"); O'Brien Sales and




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Marketing, Inc. v. Transportation Ins. Co., 512 F. Supp. 3d 1019, 1023 (N.D. Cal. 2021); Inns-by-the-

Sea v. California Mut. Ins. Co., 71 Cal. App. 5th 688, 705 (Cal. App. 2021).5

         Numerous courts in California and nationwide have concluded that the peril insured against

language in the COVID-19 context or otherwise requires physical loss or damage. See, e.g., Endeavor


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  Courts nationwide have reached the same result, with every federal appellate court, including the Ninth Circuit,
rejecting 24 Hour’s contention that the presence of the COVID-19 virus or closure by government order constitutes
physical loss or damage. See, e.g., 5 See, e.g., HT-Seattle Owner, LLC v. Am. Guar. & Liab. Ins. Co., No. 21-35916,
2023 U.S. App. LEXIS 12327 (9th Cir. May 19, 2023); First and Stewart Hotel Owner LLC v. Fireman’s Fund Ins.
Co., No. 21-35637, 2023 U.S. App. LEXIS 12328 (9th Cir. May 19, 2023); Aspen Lodging Grp., LLC v. Affiliated
FM Ins. Co., No. 21-35472, 2023 U.S. App. LEXIS 12336 (9th Cir. May 19, 2023); Hotel Mgmt. of New Orleans,
LLC v. Gen. Star Indem. Co., No. 22-30354, 2023 U.S. App. LEXIS 11145 (5th Cir. May 5, 2023); Olmsted Med. Ctr.
v. Cont’l Cas. Co., No. 22-1256, 2023 U.S. App. LEXIS 10128 (8th Cir. Apr. 26, 2023); First Realty LLC v. Aspen
Am. Ins. Co., No. 22-2220, 2023 U.S. App. LEXIS 9407 (2d Cir. Apr. 20, 2023); Connecticut Child.’s Med. Ctr. v.
Cont’l Cas. Co., No. 22-322, 2023 U.S. App. LEXIS 9057 (2d Cir. Apr. 17, 2023); Exceptional Dental of La., LLC v.
Bankers Ins. Co., No. 22-30705, 2023 U.S. App. LEXIS 8647 (5th Cir. Apr. 11, 2023); S. Orthopaedic Specialists,
LLC v. State Farm Fire, No. 22-30340, 2023 U.S. App. LEXIS 8027 (5th Cir. Apr. 3, 2023); ITT Inc. v. Factory Mut.
Ins. Co., No. 22-1245, 2023 U.S. App. LEXIS 2409 (2d Cir. Jan. 31, 2023); PHI Grp., Inc. v. Zurich Am. Ins. Co.,
No. 22-30142, 2023 U.S. App. LEXIS 2367 (5th Cir. Jan. 30, 2023); Wilson v. USI Ins. Serv. LLC, 57 F.4th 131, 2023
U.S. App. LEXIS 303 (3d Cir. Jan. 6, 2023); Sagome, Inc. v. Cincinnati Ins. Co., 56 F.4th 931 (10th Cir. 2023);
Michael’s Inc. v. Westfield Ins. Co. (In re MIKMAR, Inc.), No. 21-3230, 2022 U.S. App. LEXIS 35497 (6th Cir. Dec.
21, 2022); Family Tacos, LLC v. Auto-Owners Ins. Co., No. 21-3224, 2022 U.S. App. LEXIS 35543 (6th Cir. Dec.
21, 2022); Equity Planning Corp. v. Westfield Ins. Co., No. 21-3229, 2022 U.S. App. LEXIS 35493 (6th Cir. Dec. 21,
2022); Ceres Enters., LLC v. Travelers Indem. Co. of Am., No. 21-3232, 2022 U.S. App. LEXIS 35542 (6th Cir. Dec.
21, 2022); Brunswick Panini’s, LLC v. Zurich Am. Ins. Co., No. 21-3222, 2022 U.S. App. LEXIS 35544 (6th Cir. Dec.
21, 2022); Tao Grp. Holdings, LLC v. Emps. Ins. Co. of Wausau, No. 22-15506, 2022 U.S. App. LEXIS 32202 (9th
Cir. Nov. 22, 2022); Zurich Am. Ins. Co. v. Tavistock Restaurants Grp., LLC, No. 21-14215, 2022 U.S. App. LEXIS
31791 (11th Cir. Nov. 17, 2022); Protégé Rest. Partners LLC v. Sentinel Ins. Co., No. 21-16814, 2022 U.S. App.
LEXIS 29925 (9th Cir. Oct. 25, 2022); BA Lax, LLC v. Hartford Fire Ins. Co., No. 21-55109, 2022 U.S. App. LEXIS
29383 (9th Cir. Oct. 21, 2022); DDS v. Aspen Am. Ins. Co., No. 21-35477, 2022 U.S. App. LEXIS 29189 (9th Cir.
Oct. 20, 2022); McCulloch v. Valley Forge Ins. Co., No. 21-35520, 2022 U.S. App. LEXIS 28680 (9th Cir. Oct. 17,
2022); Hot Yoga, Inc. v. Philadelphia Indem. Ins. Co., No. 21-35806, 2022 U.S. App. LEXIS 28674 (9th Cir. Oct. 17,
2022); Caballero v. Massachusetts Bay Ins. Co., No. 21-35510, 2022 U.S. App. LEXIS 28678 (9th Cir. Oct. 17, 2022);
Coleman E. Adler & Sons, LLC v. Axis Surplus Ins. Co., 49 F.4th 894 (5th Cir. 2022); Buffalo Xerographix, Inc. v.
Sentinel Ins. Co., Ltd., et al., No. 21-1502, 2022 U.S. App. LEXIS 25857 (2d Cir. Sept. 15, 2022); Wild Eggs Holdings,
Inc. v. State Auto Prop. & Cas. Ins. Co., 48 F.4th 645 (6th Cir. 2022); Circle Block Partners, LLC v. Fireman’s Fund
Ins. Co., 44 F.4th 1014 (7th Cir. 2022); Dickie Brennan & Co., LLC v. Zurich Am. Ins. Co., No. 21-30776, 2022 U.S.
App. LEXIS 21185 (5th Cir. Aug. 1, 2022); Rock Dental Ark. PLLC v. Cincinnati Ins. Co., 40 F.4th 868 (8th Cir.
2022); PS Bus. Mgmt., LLC v. Fireman’s Fund Ins. Co., No. 21-30723, 2022 U.S. App. LEXIS 18688 (5th Cir. July
6, 2022); AIKG, LLC v. Cincinnati Ins. Co., No. 21-13506, 2022 U.S. App. LEXIS 17282 (11th Cir. June 23, 2022);
Henderson Rd. Rest. Sys. v. Zurich Am. Ins. Co., No. 21-4148, 2022 U.S. App. LEXIS 16374 (6th Cir. June 13, 2022);
Legal Sea Foods, LLC v. Strathmore Ins. Co., 36 F.4th 29 (1st Cir. 2022); Henry’s La. Grill, Inc. v. Allied Ins. Co. of
Am., 35 F.4th 1318 (11th Cir. 2022); Q Clothier New Orleans, LLC v. Twin City Fire Ins. Co., 29 F.4th 252 (5th Cir.
2022); Uncork & Create LLC v. Cincinnati Ins. Co., 27 F.4th 926 (4th Cir. 2022); Estes v. Cincinnati Ins. Co., No.
21-5587, 2022 U.S. App. LEXIS 926 (6th Cir. Jan. 12, 2022); 10012 Holdings, Inc. v. Sentinel Ins. Co., No. 21-80-
cv, 2021 U.S. App. LEXIS 38270 (2d Cir. Dec. 27, 2021); Sandy Point Dental, P.C. v. Cincinnati Ins. Co., No. 21-
1186/No. 21-1559/No. 21-1203, 2021 U.S. App. LEXIS 36399 (7th Cir. Dec. 9, 2021); Crescent Plaza Hotel Owner,
L.P. v. Zurich Am. Ins. Co., 20 F.4th 303 (7th Cir. 2021); Mudpie, Inc. v. Travelers Cas. Ins. Co. of Am., 15 F. 4th 885
(9th Cir. 2021); Santo’s Italian Café LLC v. Acuity Ins. Co., 15 F. 4th 398 (6th Cir. 2021); Oral Surgeons, P.C. v.
Cincinnati Ins. Co., 2 F. 4th 1141 (8th Cir. July 2, 2021).


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Operating Co. v. HDI Global Ins. Co., 95 Cal.App.5th 839, 313 Cal.Rptr.3d 746, 761-762 (Cal. App.

2023); Golden Corral Corp. v. Illinois Union Ins. Co., 559 F. Supp. 3d 476, 490 (E.D.N.C. 2021),

aff'd, 2022 WL 3278938 (4th Cir. Aug. 11, 2022) (no civil authority coverage for COVID-19 loss

because the COVID-19 virus is not "a type of risk that would create direct physical loss, damage, or

destruction"); 10012 Holdings, Inc. v. Sentinel Ins. Co., Ltd., 21 F.4th 216, 223 (2d Cir. 2021) (no civil

authority coverage because COVID-19 executive orders "were the result of the COVID-19 pandemic

and the harm it posed to human beings, not, as 'risk of direct physical loss' entails, risk of physical

damage to property"); Sukkah Miami Beach Acquisitions, LLC v. Zurich American Ins. Co., No. 2020-

017923-CA-44, 2021 WL 3841784, at *1 (Fla. Cir. Ct. June 18, 2021), aff'd 2023 WL 219102 (Fl.

Dist. Ct. App. Jan. 18, 2023) (where civil authority coverage required insured peril and insured peril

was defined as a "risk of direct physical loss of or damage to property," court found no civil authority

coverage "[a]bsent such direct physical loss of or damage to property"); Satispie, LLC v. Travelers

Prop. & Cas. Co. of Am., 448 F. Supp. 3d 287, 293 (W.D.N.Y. 2020) ("Under New York law, the

phrase 'risks of direct physical loss' has been interpreted to mean 'some form of actual, physical damage'

to the insured property.") (citation omitted).

        As the "Perils Insured Against" provision here clearly states—and as virtually every state and

federal appellate court to address the issue has found—coverage for loss under a commercial property

policy is provided only if there is evidence that the insured's loss was incurred as the result of

demonstrable, physical damage to or physical loss of (e.g., total and permanent deprivation) insured

property. O'Brien, 512 F. Supp. 3d at 1023; Mudpie, Inc. v. Travelers Cas. Ins. Co. of Am., 15 F.4th

885, 891–92 (9th Cir. 2021) ("California courts would construe the phrase 'physical loss of or damage

to' as requiring an insured to allege physical alteration of its property"); Musso & Frank Grill Co. v.

Mitsui Sumitomo Ins. USA Inc., 77 Cal. App. 5th 753, 758-59, 293 Cal.Rptr.3d 1 (2022), citing MRI




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Healthcare Center of Glendale, Inc. v. State Farm General Ins. Co., 187 Cal. App. 4th 766, 115 Cal.

Rptr. 3d 27 (Cal. 2010) ("direct physical loss or damage requires a 'distinct, demonstrable, physical

alteration of the property.'")

        24 Hour Fitness has offered no such evidence here, but rather instead relies upon

unsubstantiated allegations that it experienced physical loss or damage because of the actual presence

of COVID-19 and the virus causing it at 24 Hour's property and in the vicinity, because of government

orders that prevented 24 Hour's use of its properties, and because of a need to institute social distancing

and undertake other efforts to mitigate the effects of COVID-19. (See Exh. A-22 at A.0749-0750) (24

Hour's Responses to Defendants' First Set of Interrogatories at Response No. 7). None of these

allegations demonstrate physical loss or damage to its property or to property of others.

        2. Neither the Mere Presence of the COVID-19 Virus Nor Closure by Government Orders
           Constitute Physical Loss or Damage

        Numerous courts in California and elsewhere have concluded that the mere presence of the

COVID-19 virus on an insured's premises does not constitute "physical loss or damage" that would

trigger coverage under a commercial insurance policy. See Creative Artists Agency, LLC v. Affiliated

FM Ins. Co. (C.D. Cal. Jul. 27, 2022, No. 2:21-CV-08314-AB (GJS)) 2022 WL 3097371, at *5-6

(finding Inns by the Sea "instructive" in finding that plaintiff's "conclusory and speculative allegations"

were insufficient to allege that the presence of COVID-19 constituted "physical loss or damage"); Sandy

Point Dental, P.C. v. Cincinnati Ins. Co., 20 F.4th 327, 335 (7th Cir. 2021); United Talent Agency v.

Vigilant Ins. Co., 77 Cal. App. 5th 821, 834-35 293 Cal. Rptr. 3d 65, 76 (Cal. App. 2022). In United

Talent Agency v. Vigilant Ins. Co., the Second District held that, under Inns by the Sea, an insured "must

establish either 'direct physical ... damage to' property at the premises, or 'direct physical loss of'

property at the premises caused by its suspension of operations." 77 Cal. App. 5th 821, 830

(emphasis in original). United Talent Agency "agree[d] with the majority of the cases finding that



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the presence or potential presence of the virus does not constitute direct physical damage or loss."

(Id. at 838.) Indeed, "no state supreme court that has addressed this issue has finally decided the

presence of COVID-19 constitutes a physical loss or damage to property." Cajun Conti LLC v.

Certain Underwriters at Lloyd's, 359 So.3d 922, 929 (La. 2023). 6

        The Property Insurers acknowledge that, on March 1, 2023, the California Supreme Court

accepted certification from the Ninth Circuit of the following question:

         Can the actual or potential presence of the COVID-19 virus on an insured's
         premises constitute "direct physical loss or damage to property" for purposes of
         coverage under a commercial property insurance policy?

Another Planet Entertainment v. Vigilant Insurance Company, Case: 21-16093, Order Certifying

Question to the California Supreme Court (9th Cir. Dec. 28, 2022). Supreme Court of California

(March 1, 2022).

        The Property Insurers are confident that the California Supreme Court will follow the

example of the overwhelming weight of case law on this issue—including the decisions of other

state supreme courts to address the issue—and find that the mere presence of the COVID virus

cannot constitute "direct physical loss of or damage to property." See, e.g., Endeavor, 313

Cal.Rptr.3d at 762; Neuro-Communication Svcs., Inc. v. Cincinnati Ins. Co., --N.E.3d--, 2022 WL

17573883 at *6 (Ohio 2022) ("direct physical loss" or "damage to property" that triggers coverage

under a commercial policy does not arise from: (1) general presence of COVID-19 in community,

(2) presence of COVID-19 on surfaces at a premises, or (3) presence on a premises of a person

infected with COVID-19.); Verveine Corp. v. Strathmore Ins. Co., 184 N.E.3d 1266, 1276 (Mass.

2022) ("Even accepting the plaintiffs' premise that the suspension of their business was caused by



6
 The Vermont Supreme Court considered the state’s pleading standard, but did not conclude that COVID-19 is
physical loss or damage. See Huntington Ingalls Indus., Inc. v. Ace Am. Ins., 287 A.3d 515 (Vt. 2022).



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the 'presence' of the virus on surfaces and in the air at the restaurants (as opposed to the danger

that the virus would be introduced to the restaurants or spread directly from person to person if

indoor dining were allowed), mere 'presence' does not amount to loss or damage to the property");

Tapestry Inc. v. Factory Mutual Insurance Co., 286 A.3d 1044, 1066 (Md. 2022) accord, Sagome,

Inc. v. Cincinnati Ins. Co., 56 F.4th 931, 937 (10th Cir. 2023). 7

         Likewise, numerous courts in California and elsewhere have held that governmental orders

requiring businesses to close due to COVID-19 do not satisfy the physical loss or damage

requirement in the Property Policies. See, e.g., Starlight Cinemas, Inc. v. Mass. Bay Ins. Co., 91

Cal.App.5th, 308 Cal.Rptr.3d 31, 38-39 (Cal. App. 2023); Apple Annie, LLC v. Oregon Mutual

Ins. Co., 82 Cal.App.5th 919, 298 Cal.Rptr.3d 886 (Cal. App. 2022); Tarrar Enterprises, Inc. v.

Associated Indemnity Corp. 83 Cal.App.5th 685, 687, 299 Cal.Rptr.3d 698 (2022). 8

         Indeed, allowing 24 Hour to recover for a mere loss of use of its facilities because of

government orders would render portions of the Property Policies meaningless. As noted, the

"Period of Recovery" for Time Element coverages states that the period of time for which losses

under those provisions can be recovered shall not exceed the "length of time as would be

required…with the exercise of due diligence and dispatch to rebuild, repair, or replace such part

of the property as has been destroyed or damaged.


7
  Property Insurers acknowledge that a small minority of courts have found that the mere presence of COVID virus at
an insured's premises may constitute physical loss or damage for purposes of business interruption cover. See, e.g.,
Marina Pacific Hotels and Suites, LLC v. Fireman's Fund Ins. Co., 81 Cal.App.5th 96, 296 Cal.Rptr.3d 777 (Cal. App.
2022). As an example of this minority view, however, Marina Pacific has been roundly criticized by other courts on
this point, including by other California appellate courts. See, e.g., Endeavor, 313 Cal.Rptr.3d at 763.
8
  Property Insurers acknowledge that, in an outlier opinion, one California state appellate court has found that a
temporary deprivation of use of an insured's property as the result of a government order may constitute "physical
loss" of property for purposes of business interruption coverage. Coast Restaurant Group, Inc. v. Amguard Ins. Co.,
90 Cal.App.5th 332, 307 Cal.Rptr.3d 133, (Cal. App. 2023). The Coast decision, however, represents a significant
departure from the mainstream and has been rejected by other California appellate courts. See, e.g., Starlight, 91
Cal.App.5th at 39 ("We disagree with our colleagues in Coast that a temporary deprivation of an insured's right to use
covered property constitutes a covered loss under policy language covering a 'direct physical loss of or damage to
property.')


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        This language plainly contemplates sufficiently demonstrable physical alteration or harm

such that the property must be repaired, rebuilt, or replaced. Courts have consistently held that this

type of language reinforces that mere loss of use or presence of a virus does not constitute physical

loss or damage. See, e.g., Inns-by-the-Sea, 71 Cal. App. 5th at 592 (period of recovery provision's

"focus on repairing, rebuilding or replacing property (or moving entirely to a new location) is significant

because it implies the 'loss' or 'damage' that gives rise to Business Income coverage has a physical nature

that can be physically fixed" or moved to a new location) (emphasis in original); Mudpie, 15 F.4th at 892

("interpreting the phrase 'direct physical loss or damage to' property as requiring physical alteration of

property is consistent with other provisions of [insured's] policy," including the period of restoration

provision); United Talent Agency, 77 Cal.App.5th at 833-834 (the "'period of restoration' language in the

policies demonstrates that coverage requires a physical loss requiring repair or replacement, not simply

loss of use.")

        A result consistent with the overwhelming authority rejecting arguments similar to those

made by 24 Hour is warranted here, because 24 Hour has not proven and cannot prove that there

has been any direct physical loss or direct physical damage to property as a matter of law. Not only

does the weight of current California law hold that the presence of COVID-19 and loss of use cannot

constitute physical loss or damage, 24 Hour itself has failed to demonstrate that the presence of the

COVID virus here somehow caused "direct physical loss of or damage" to property required for

coverage under the Business Interruption or other Time Element provisions. In fact, the 24 Hour

witnesses identified by 24 Hour as having knowledge of "any direct physical loss or damage to Your

Property due to COVID-19" have testified that COVID virus did not damage 24 Hour's property.

(See Exh. A-18 at A.0722-0723) (Piro Dep. at 142:23-143:21; (see also Exh. A-19 at A.0730)




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(Larson Dep. at 94:3-19; (see also Exh. A-22 at A.0752-0753) (24 Hour Responses to Defendants'

First Set of Interrogatories at Response No. 13.)

       Nor has 24 Hour offered any evidence to show any physical alteration to its property. The

Property Insurers' expert witness, Dr. Alexis Sauer-Budge, a biomedical engineer whose professional

focus is on the interaction of biology and materials, opined in her expert report that "SARS-CoV-2

does not physically alter, change, or damage the air that surrounds respiratory droplets that contain

infectious virus or the surface on which these droplets settle, thereby allowing for easy disinfection

of the surface." (See Exh. A-10 at A.0541-0542) (Dr. Sauer-Budge Dec. at Exh A, pp. 39-40, ¶

4.36). In contrast, 24 Hour's only designated expert witness—Dr. Carnethon, gives no opinion on

whether the COVID virus damages property, and, in her deposition, stated that she did not disagree

with anything in Dr. Sauer-Budge's report. Instead, she testified that she "learned a lot" from Dr.

Sauer-Budge's report and found it "very interesting." (See Exh. A-16 at A.0623) (Dr. Carnethon

Dep. at 84: 3-14). Dr. Carnethon conceded that Dr. Sauer-Budge's report was "completely" outside

of her area of expertise. (See Exh. A-16 at A.0623) (Dr. Carnethon Dep. at 84: 15-16).

       For the same reasons discussed above, 24 Hour has not offered evidence that would trigger

coverage under the "Civil or Military Authority" or Ingress/Egress provisions. Coverage under the

Civil Authority provision is triggered only for "a peril insured against" that occurs "within five (5)

statute miles of the insured premises and for a period not to exceed thirty (30) days." Relatedly,

Ingress/Egress coverage is triggered only when, following, a "peril insured against" "access to or

egress from real or personal property is prevented within five (5) statute miles of the insured

premises and for a period not to exceed thirty (30) days." Because 24 Hour cannot demonstrate a

"peril insured against," within the prescribed vicinities of its locations, neither coverage is

triggered.




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        In sum, under the plain terms of the Property Policies, 24 Hour cannot recover for business

interruption or other time element coverages without demonstrating that it has incurred "physical

loss or damage to property."

        D.      24 Hour Fails to Meet The Requirements for Coverage Under the ICD
                Endorsement

        Unlike many property insurance policies, the Property Policies' expressly contemplate the

potential for coverage for disease, the requirements for which have not been met in this case. The

Property Policies' ICD Endorsement provides limited coverage for costs incurred to clean up,

remove and dispose of communicable disease from insured property and to restore the premises as

well as business interruption losses during such clean up, removal, disposal and restoration.

Coverage under the ICD Endorsement is provided solely with respect to "reasonable and

necessary" expenses to "clean up, remove, and dispose of [COVID virus] from insured property"

and to "restore the premises" that were incurred "in a manner to satisfy the minimum requirements

of any law or ordinance regulating communicable diseases." Coverage extends to any business

interruption losses directly resulted from the clean up, removal and disposal of COVID virus from

the facilities and the restoration of the premises.

        ICD coverage is, however, subject to a number of independent prerequisites, each of which

must be satisfied to trigger coverage. Specifically, the reasonable and necessary expenses to clean

up and restore the premises "must be directly resulting from access being prohibited" to a 24 Hour

facility:

             a) "due to the actual presence and the spread of" COVID-19 at that facility; and

             b) "as a direct result of a declaration by a civil authority enforcing any law or

                ordinance regulating communicable disease."

(See Exh. A-4 at A.0227) (Continental Policy, p. 33 at Endorsement 2).



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       24 Hour has not offered evidence sufficient to meet any, much less each, of these

independent requirements for ICD coverage.

                1.     24 Hour Has Offered No Evidence of the "Actual Presence and Spread" of
                       COVID-19 at Any of Its Facilities

       24 Hour has offered no evidence with respect to the actual presence and spread of COVID-

19 at any of its facilities, a prerequisite to coverage under the ICD Endorsement. 24 Hour offers

the purely speculative view that, based upon its belief that the COVID virus was "widespread" in

all communities in March 2020, it was reasonable for 24 Hour to "assume" that COVID-19 was

present in each of its facilities. Speculation and conjecture, however, cannot defeat summary

judgment. Jackson v. Danberg, 594 F.3d 210, 227 (3d Cir.2010).

       It is undisputed that 24 Hour offers no evidence of "confirmed" cases of COVID-19 at any

of its facilities. Rather, 24 Hour offers little more than Dr. Carnethon's reliance on anecdotal

reports that it gathered intermittently prior to and following March 16, 2020 from individuals who,

for example, may have come into contact with someone suspected of possibly having COVID-19.

Dr. Carnethon's report cites to materials that reflect 24 Hour's "assumption" that COVID-19 was

present in its facilities in support of her statement "24HF reported that it had learned of several

instances in which team members and/or 24HF patrons with actual or suspected cases of COVID-

19 entered its facilities.") (See Exh. A-17 at A.0650) (Dr. Carnethon Report at fn. 43). For

example, Dr. Carnethon's cited sources include:

   •   Tony Ueber's Deposition Testimony
           Q. In terms of my question, did you -- did you assume that COVID-19 was
           present in -- in each and every one of the clubs?
           A. I think we had to assume that it certainly could have been present in all of
           the clubs at that point.
           Q.    Did you assume that it, in fact, was present?




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             A. Well, we assumed that it was because we took these actions to be able to
             mitigate any spread if it was present in the clubs.
(See Exh. A-23 at A.0775-0776) (Ueber Dep. at pp. 71:20-72:4).
         •   Claim Information Submitted by 24 Hour to the Property Insurers.
             2. Please specify whether you are claiming any direct physical loss or damage
                to the real property, personal property, stock, supplies and/or merchandise?
                We believe that the inability to use our clubs and all of the property therein
                for their intended purpose due to the COVID-19 disease and hazards
                associated with groups of people gathering in locations such as our clubs,
                plus the fact that it should be presumed that individuals infected with
                COVID-19 were present at all of our locations, constitutes "direct physical
                loss or damage."
                If there has been physical loss or damage, please explain the nature of the
                damage.
             3. Has there been any confirmed cases of Covid-19 at any of the properties?
                If so, please provide the details of the incidents and when the person was
                on the property.
                There have been confirmed cases of individuals with COVID-19, including
                members and employees, at certain locations. Information regarding the
                identities of these individuals is private information, and we are not sure if
                we can disclose that information. We will provide general information
                regarding these "incidents" shortly, but please keep in mind that our claim
                is not dependent on any identified case of COVID-19 on our premises.
                Given the nature of the disease and its presence within the community, we
                believe it must be presumed that all of our locations were impacted by the
                presence of individuals with COVID-19.
(See Exh. A-24 at A.0788 (24 Hour's Responses to Property Insurers' Requests for Information at

p. 3).

         •   24 Hour's Interrogatory Responses

             INTERROGATORY NO. 7: Set forth the factual basis for the allegation in
             paragraph 41 of the Complaint that Your Property experienced direct physical
             loss or damage due to COVID-19.
             RESPONSE [in pertinent part]: . . . Plaintiff contends that each of its fitness
             clubs sustained direct physical loss or damage due to the actual presence of
             COVID-19 and SARSCoV-2 at and in the immediate vicinity of Plaintiff's
             properties, which constituted physical loss or damage to Plaintiff's property
             including by rendering such property unfit or unsafe for its intended purpose
             and/or normal human occupancy. . . . The statistical probability/certainty of the


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           presence of thousands to millions of virions in the air and on the surfaces of
           Plaintiff's properties rendered such properties unsafe for use in the same way
           that asbestos particles, ammonia, or radiation would have, causing physical loss
           or damage to such properties. Moreover, Plaintiff identifies that all its covered
           locations—which are or were accessible to the public or to employees and
           subject to regular foot traffic—were physically altered as a result of COVID-
           19 and SARS-CoV-2 virions. . . Plaintiff further identifies the following
           examples of the type of physical loss or damage to its properties: (1) at least
           several hundred of Plaintiff's employees or members were confirmed or
           suspected of contracting COVID-19, demonstrating both the certain or virtually
           certain presence of COVID-19 and/or SARS-CoV-2 in Plaintiff's locations, in
           the air, and on its surfaces; . . .
(See Exh. A-22 at A.0749-0750) (24 Hour's Responses to Defendants' First Set of

Interrogatories at Response No. 7). None of the documents or testimony Dr. Carnethon relied

upon, however, established that any employee or member confirmed with COVID-19 visited

the premises.

       As noted, Dr. Carnethon testified on behalf of 24 Hour that she has not done any work

related to the presence of COVID-19 virus in any location. (See Exh. A-16 at A.0616) (Carnethon

Dep. at 17:4-11) and that she has "no opinion" on whether COVID-19 was, in fact, actually present

at any 24 Hour location. (See Exh. A-16 at A.0620) (Carnethon Dep. at 63:7-12). This is all the

more notable since, in response to Property Insurers' Interrogatory Number 5, which requested

information regarding the actual presence of COVID-19 at 24 Hour facilities, 24 Hour objected on

the basis that the question called "for the production of expert testimony." (See Exh. A-22 at

A.0744-0755) (24 Hour Responses to Defendants' First Set of Interrogatories at Response No. 5).

       It is undisputed that 24 Hour made no effort to conduct even minimal "contact tracing"

when it received such reports in order to determine if (1) any individual with a COVID-19 infection

was actually at a 24 Hour location, or (2) even if that were the case, where such an individual may

have been in the building or with whom they may have made contact while there. Information such




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as this would have been readily available to 24 Hour at the time and was regularly gathered by

other businesses. (See Exh. A-8 at A.0461) (Dr. Stock Dec. at Exh. A, p. 3).

       Rather than provide any evidence of the actual presence and spread of COVID-19 at its

facilities, 24 Hour executives repeatedly testified that the company's management "assumed"

COVID-19 was present at the facilities because it was "everywhere" in March 2020. When asked

for specific evidence of the presence and spread of COVID-19 at one of its facilities, Dan Larson, 24

Hour's health and safety manager, testified as follows:

         You know, there was COVID within the – all the communities that we operated
         within. Being deemed a world pandemic by the World Health Organization, or
         WHO, we reasonably assumed that COVID was in the club.

(See Exh. A-9 at A.0488) (Larson Rule 30(b)(6) Dep. at 48:5-13).

       Matthew Piro, 24 Hour's national head of club operations similarly testified that, "based upon

the information that was in the public domain, we assumed the virus was likely in the majority of our

clubs." (See Exh. A-18 at A.0717) (Piro Depo. at 47:9-21). Tony Ueber, 24 Hour's Chief Executive

Officer also testified that, when 24 Hour issued the order to close its facilities on March 16, 2020, it

assumed that COVID-19 was present in its facilities. (See Exh. A-23 at A.0776) (Ueber Dep. at 72:1-

4).

       These conclusory assertions are patently insufficient to support the "actual presence and

spread" of COVID-19 at any single facility, let alone all of them. The same issue was faced by the

court in AU Health System, Inc. v. Affiliated FM Ins. Co., 593 F. Supp. 3d 1344 (S.D. Ga. 2022). The

policy in AU Health included an endorsement under which coverage might be provided for certain

losses arising as the result of the "presence of communicable disease." Id. at 1349. The insured in AU

Health owned over 30 healthcare facilities, some of which treated individuals who were positive for

COVID-19. Id. at 1353. The insured moved for partial summary judgment and asked the court to find

that "COVID-19 was 'actually present' at their 'described locations.'" The court rejected the insured's


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speculative assertion that COVID-19 was "actually present" at all of its locations finding that "the

Court, and AFM, are unwilling to blindly accept Plaintiffs' contention that all of the Insured

Locations had COVID-19 'actually present.'" Id. at 1352.

        Here, too, the Court should decline 24 Hour's request that it blindly accept 24 Hour's

conclusory and speculative allegations that COVID-19 must have been in all of its locations in

March 2020 because the virus was "everywhere."

        Notwithstanding 24 Hour's failure to demonstrate the "actual presence" of COVID-19 at a

specific club, there is additionally no evidence of "spread" of COVID-19 at any location. Under the

terms of the ICD Endorsement, 24 Hour must provide sufficient evidence of the actual presence and

spread of COVID-19 at its locations. (See Exh. A-4 at A.0227) (Continental Policy, p. 33 at

Endorsement 2). In this context, "presence" and "spread" are independent requirements for

coverage. As noted, however, 24 Hour did not undertake even rudimentary contact tracing that might

allow it to at least infer the potential spread of disease associated with some location(s), and, instead,

appears again to rely upon its assumption that COVID-19 must have been present at its locations to

make the further assumption that, therefore, it must have spread at those locations. It's only designated

expert, Dr. Carnethon, admitted that she was not asked to offer an opinion as to whether COVID-19

was "actually" spreading at 24 Hour's facilities nor does she have an opinion as to whether COVID-19

was spreading at 24 Hour's facilities. (See Exh. A-16 at A.0617; 0620)(Dr. Carnethon Dep. at 24:14-

19; 63:13-18).

                 2.     24 Hour Fitness Has Not Demonstrated That Access To Any Of Its Properties
                        Was Prohibited

        Finally, not only does 24 Hour have to demonstrate the actual presence of and the spread

of" COVID-19 at a particular location, but it must also demonstrate that access to that location

must have been prohibited by a government order due to that presence and spread. 24 Hour has



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not produced or identified any such order. The orders issued by state and local authorities in 2020

were either broad closure or "stay at home" orders, none of which were in any way related to a

specific condition at an insured location. See Inns-by-the-Sea v. California Mut. Ins. Co., 71 Cal. App.

5th 688, 711-712; (Cal. App. 2021); Spirit Realty Capital, Inc. v. Westport Insurance Corporation,

568 F. Supp. 3d 470, 475 (S.D.N.Y. 2021) (insured's business was closed due to orders because it

was one of many "non-essential" businesses and not because of the actual presence of virus at its

locations). Nor has 24 Hour identified any orders that prohibited access to any of 24 Hour's

locations. See, e.g., Riverside Dental of Rockford, Ltd. v. Cincinnati Ins. Co., No. 20 CV 50284,

2021 WL 2660774 (N.D. Ill. June 29, 2021), following prior dismissal w/o prejudice, 2021 WL

346423 (Jan. 19, 2021) (no prohibition of access where there was a prohibition on certain services

being performed (which could have been as much as 90% of services ordinarily provided) where

the premises could still be accessed for essential services); Northwell Health, Inc. v. Lexington Ins.

Co., 550 F. Supp. 3d 108 (S.D.N.Y. 2021), following order without opinion, 2021 WL 3163273

(July 07, 2021) ("While the Orders certainly restrict access to hospitals [by requiring the temporary

suspension of elective procedures], they fall short of "prohibiting" access."); St. Tammany Par.

Hosp. Serv. Dist. No. 2 v Zurich Am. Ins. Co., 593 F. Supp 3d 399 (E.D. La. 2022) (holding that

government orders did not prohibit access to insured's hospital as required for coverage under

interruption by communicable disease provision); Danville Regional Medical Center, LLC v.

American Guarantee and Liability Insurance Company, 2022 WL 16914516 (W.D. Va., 2022);

Inspira Health Network v. American Guarantee and Liability Insurance Company, 2022 WL

16552780 (D.N.J. 2022) (holding that the COVID-19 Executive Order restricted certain activities

on the insured location but did not prohibit access to the insured location as is required to trigger

coverage under the ICD provision).




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       Although 24 Hour refers in its Complaint to orders of various local and state governments

requiring non-essential businesses such as 24 Hour's to close, 24 Hour has provided no evidence

that it was directly ordered by any governmental body to undertake any specific action concerning

COVID-19 with respect to any 24 Hour facility. Dr. Carnethon testified on behalf of 24 Hour that

it was her understanding that the government orders required closure of gym facilities such as 24

Hour's regardless of whether or not COVID-19 was present on the premises. (See Exh. A-16 at

A.0621-0622) (Dr. Carnethon Dep. at 73:17-74:4). Dr. Carnethon further testified that she was

unaware of any health department or state or local government contacting 24 Hour directly

regarding concerns about the potential presence of COVID-19 at any 24 Hour facility. (See Exh.

A-16 at A.0622) (Dr. Carnethon Dep. at 74:12-17). And 24 Hour's own Rule 30(b)(6) witness,

Matthew Piro, affirmatively asserted that 24 Hour closed its clubs not because they were ordered

to do so by government authorities, but, rather, because "public orders indicated that COVID-19"

was a significant health risk and 24 Hour therefore closed its facilities out of concern for the health

and safety of its employees and guests. (See. Exh. A-18 at A.0719-0720) (Piro Dep. at 88:10-89:2).

Again, evidence of the "actual presence and spread" of COVID-19 and resulting prohibition of

access by a governmental order at 24 Hour's facilities is an independent precondition to coverage

under the ICD Endorsement.

               3.      24 Hour Offers No Evidence That It Incurred COVID-19 Related Cleaning
                       Costs During the Time of its Closure after March 16, 2020

       To date, 24 Hour has provided no verifiable evidence that it incurred any expenses to "clean

up, remove, and dispose of" the COVID virus from its facilities or "restore the premises" after it

closed its facilities on March 16, 2020 and until it began reopening facilities in May of 2020. The

information submitted by 24 Hour in support of its purported loss during the claim adjustment and




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during the discovery period in this litigation does not indicate that any funds were expended to

undertake such cleaning, removal, disposal or restoration.

         Indeed, on March 16, 2020—the date on which 24 Hour closed its clubs nationwide,

Matthew Piro, 24 Hour's national director of club operations, wrote to representatives of KBS, 24

Hour's corporate janitorial service at the time and stated as follows (emphasis added):

           KBS Team:
           Please be advised that due to all of the gym closures required by the government
           related to the COVID-19 virus outbreak, all of our clubs will close at midnight
           tonight until further notice. We may solicit help from you with some cleaning
           during the closure, but all regular cleaning will end effective tonight at
           midnight until we are allowed to re-open—and we will reach out to you about
           any specific cleaning requests.

(See Exh. A-9 at A.0489-0490)(Larson Rule 30(b)(6) Deposition, 76:25-77:7); (see also Exh. A-

20 at A.0733)(March 16, 2020 Email from Matt Piro).

         In line with this directive, 24 Hour has offered no evidence that KBS or any other vendor

did any cleaning or other work at the facilities during the period that they were closed or upon re-

opening. 9

         Even if 24 Hour had produced any evidence of cleaning, removal, disposal or restoration

costs that it incurred, it has made no effort to demonstrate that it incurred any such costs "in a

manner to satisfy the minimum requirements of any law or ordinance regulating communicable

diseases." Indeed, 24 Hour has not directed the Property Insurers to any law or ordinance regulating

COVID-19 that sets forth the minimum requirements that 24 Hour would have been required to




9
 The Property Insurers requested such information in discovery, but none was provided by 24 Hour. Under the clear
language of the ICD Endorsement, however, evidence that 24 Hour has incurred "reasonable and necessary" cleaning
costs to "clean up, remove, and dispose of [COVID virus] from insured property" and “restore the premises” is a
precondition to coverage. 24 Hour bears the burden to demonstrate, in the first instance, the existence of coverage
under the Property Policies. Aydin Corp. v. First State Ins. Co., 959 Cal. Rptr. 1213, 1215; 77 Cal. Rptr. 2d 537, 539
(Cal. 1998) (burden is on an insured to establish its claim is within the basic scope of insurance coverage). By failing
to produce any evidence of such costs, 24 Hour has failed to meet this burden.



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follow had it ever undertaken efforts to "clean up, remove, and dispose of " COVID-19 from their

locations or restore the premises.

       The Property Insurers anticipate that 24 Hour will argue that "cleaning" is ineffective

against COVID-19 and that, as a result, they had no choice but to close their locations for the

duration of the government orders in order to eradicate the COVID virus from their premises. The

closure of the facilities, however, does not plausibly equate with cleaning, removal, disposal or

restoration. Moreover, Dr. Alison Stock, an epidemiologist who specializes in the characteristics

and spread of infectious diseases, testified that the Centers for Disease Control confirms that

cleaning with appropriate disinfectants is effective against the COVID virus. (See Exh. A-8 at

A.0466) (Dr. Stock Dec. at Exh. A, p. 8, ¶ 22). Dr. Stock further noted that 24 Hour's normal

cleaning operations in March 2020 included the type of disinfectants found to be effective against

the COVID virus. (See Exh. A-8 at A.0466) (Dr. Stock Dec. at Exh. A, p. 8, ¶ 22). 24 Hour has

offered no expert testimony on this issue or evidence to contradict this undisputed point.

       Insofar as ICD coverage is afforded only for costs to "'clean up, remove, and dispose of'

COVID-19 from their locations" and "restore the premises" and for the time required to undertake

such operations, 24 Hour's failure to offer any evidence of covered loss under the ICD endorsement

warrants summary judgment in favor of the Property Insurers as to 24 Hour's Claim under the ICD

Endorsement.

               4.      24 Hour Is Not Entitled to Business Interruption Coverage under the ICD
                       Endorsement

       24 Hour seeks to recover economic losses due to the closure of the facilities under the ICD

Endorsement. The business interruption coverage under this endorsement, however, is limited.

Where all other requirements for coverage under the ICD Endorsement are met, see supra at

IV.D.1 - IV.D.3, the endorsement covers business interruption loss "directly resulting from" the



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clean up, removal and disposal of the communicable disease and the restoration of the premises.

Thus, the ICD Endorsement does not provide coverage for business interruption for the entire time

period that the facilities were dormant due to the governmental closure orders. Such coverage is

provided by the civil authority provision in the Property Policies and is subject to the terms and

conditions of that provision. See supra at IV.C. The ICD Endorsement only covers business

interruption losses for the period of time that 24 Hour was actually cleaning, removing and

disposing of the COVID virus and restoring the premises. As noted above, 24 Hour undertook no

clean up, removal, disposal or restoration during the period of time that the facilities were closed,

and 24 Hour has offered no evidence of any clean up, removal, disposal or restoration that it

undertook when the facilities re-opened.

        As there are no covered cleaning and restoration expenses here, it follows there are no

"directly resulting" business interruption losses. Even if 24 Hour were able to show such cleaning

costs, the potential business interruption coverage would be only for the short period of time during

which the cleaning occurred, not the months-long period that the clubs were closed. Accordingly,

24 Hour's failure to demonstrate it incurred any expense that is covered under the ICD

Endorsement precludes any potential for coverage of business interruption costs under the ICD

Endorsement. 10

V.      CONCLUSION

        For the foregoing reasons, the Property Insurers respectfully request that the Court grant

their Motion for Summary Judgment.



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  The Property Insurers also note that, even if 24 Hour were able to demonstrate coverage under the ICD Endorsement,
which it has not and cannot do, the Property Policies provide a policy sublimit of $2,500,000 per occurrence and a
$250,000 per occurrence deductible for ICD coverage. Accordingly, for each occurrence asserted by 24 Hour, it would
additionally have to demonstrate that the cleaning and restoration costs as well as the directly resulting business
interruption losses exceeded $250,000.



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Dated: November 10, 2023                   Respectfully submitted,

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